   Case: 1:18-cv-00610 Document #: 114 Filed: 09/04/18 Page 1 of 2 PageID #:1545



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                               )
KIMBERLEY LAURA SMITH-BROWN,                   )
QUINN ALLEN, ILENE ANCHELL,                    )    Case No. 1:18-cv-610
BRITTANY CAFFREY, KRIS DANE,                   )
KAREN EONTA, VALARIE HUTCHISON,                )    Judge: Jorge L. Alonso
KRISTEN JACKSON, CRISTINA KOVACS,              )
MICHELLE MUSK, PAULA                           )    Mag. Judge: M. David Weisman
OGURKIEWICZ, ROBIN OKMAN,                      )
JENNIFER SACKS, VERONICA SANDERS,              )
DEANNA SHAW, ALLISON SOT, SHASTA               )
SWANEY, COLLEEN THORNTON,                      )
JESSICA TIFT, ALICE VITIELLO, TAMMY            )
WALKER, and DONNA WILLIAMS,                    )
Individually and on Behalf of All Others       )
Similarly Situated,                            )
                                               )
                       Plaintiffs,             )
                                               )
       v.                                      )
                                               )
ULTA BEAUTY, INC. and ULTA SALON,              )
COSMETICS & FRAGRANCE, INC.,                   )
                                               )
                       Defendants.             )
                                               )
                                               )


                      NOTICE OF CHANGE OF FIRM AFFILIATION
TO:    Clerk of Court and All Counsel of Record
       PLEASE TAKE NOTICE of the following new firm affiliation and contact information
for attorney Janine L. Pollack:

                               Janine L. Pollack
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       All notices, filings, and written communication with this attorney regarding this action

should be sent to the above firm and address.

       Please note that Wolf Haldenstein Adler Freeman & Herz LLC remains as counsel for

Plaintiffs through Carl Malmstrom.

DATED: September 4, 2018                            By: /s/ Janine L. Pollack
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